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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Thomas B. McNamara

 In re:
                                                    Bankruptcy Case No. 18-10965 TBM
 11380 SMITH RD, LLC,                               Chapter 11


 Debtor.
______________________________________________________________________________

     ORDER FOR HEARING ON ADEQUACY OF DISCLOSURE STATEMENT
           AND SETTING BAR DATE FOR FILING PROOFS OF CLAIM
______________________________________________________________________________

       The Debtor, 11380 SMITH RD, LLC (the “Plan Proponent”) filed a Disclosure Statement
(Docket No. 54, the “Disclosure Statement”) and a Plan of Reorganization (Docket No. 53, the
“Plan”) under Chapter 11 of the Bankruptcy Code on March 23, 2018. Accordingly,

          IT IS ORDERED:

 1. The Hearing to consider the adequacy of and to approve the Disclosure Statement pursuant
    to 11 U.S.C. § 1125 will be held at Tuesday, May 8, 2018, at 10:00 a.m., in Courtroom E,
    United States Bankruptcy Court for the District of Colorado, United States Custom House,
    721 19th Street, Denver, Colorado (the “Hearing”).

 2. The Plan Proponent shall promptly and, in any event, on or before April 2, 2018,

   a.       mail the Notice of Hearing in the form attached (the “Notice of Hearing”) to all
            creditors and indenture trustees, all equity security holders, and other parties in
            interest; and,

   b.       mail a copy of the Plan, the Disclosure Statement, and the Notice of Hearing to the
            U.S. Trustee, counsel for the Creditors’ Committee (or if there is no counsel, to the
            Committee Chairperson), the Trustee in the case, if any, and if the Debtor is not the
            Plan Proponent, to the Debtor and Debtor’s counsel, and to applicable regulatory
            authorities, including without limitation, the Securities and Exchange Commission
            and the Commissioner of Securities for the State of Colorado (all at their addresses of
            record as specified by Fed. R. Bankr. P. 2002(g)).

 3. The Plan Proponent shall also file with the Court, at least 14 days prior to the Hearing, a
    certificate of mailing of the Notice of Hearing, Plan, and Disclosure Statement as ordered.

 4. Upon request of interested parties, the Plan Proponent will promptly provide copies of the
    Plan and Disclosure Statement.
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 5. Objections to the Disclosure Statement shall be filed and served in the manner specified in
    Fed. R. Bankr. P. 3017(a), not less than seven (7) days prior to the Hearing.

 6. Pursuant to Fed. R. Bankr. P. 3003(c)(3), the Court establishes June 22, 2018, as the last
    day for any creditor or equity security holder whose claim or interest IS NOT scheduled or
    is scheduled as DISPUTED, CONTINGENT, OR UNLIQUIDATED to file a proof of
    claim. It shall not be necessary for a creditor or equity security holder to file a proof of
    claim or interest if the claim or interest is scheduled in the Schedule of Liabilities filed by
    the Debtor(s) pursuant to 11 U.S.C. § 521(a)(1)(B)(i) as not disputed, not contingent and not
    unliquidated and if the creditor or equity security holder agrees with the amount of the claim
    or interest as scheduled in the Schedule of Liabilities.



       DATED this 26th day of March, 2018                    BY THE COURT:


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                                                             Honorable Thomas B.. M    McNamara
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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                           Bankruptcy Judge Thomas B. McNamara

 In re:
                                                  Bankruptcy Case No. 18-10965 TBM
 11380 SMITH RD, LLC,                             Chapter 11


 Debtor.
______________________________________________________________________________

      NOTICE OF HEARING ON ADEQUACY OF DISCLOSURE STATEMENT
          AND NOTICE OF BAR DATE FOR FILING PROOFS OF CLAIM
______________________________________________________________________________

TO THE DEBTOR(S), CREDITORS, EQUITY HOLDERS, AND ALL OTHER PARTIES-IN-
INTEREST:

       NOTICE IS HEREBY GIVEN that a Disclosure Statement was filed by 11380 SMITH
RD, LLC (the “Plan Proponent”). Pursuant to Order of the Court, a Hearing will be held on the
adequacy of such Disclosure Statement on Tuesday, May 8, 2018, at 10:00 a.m. in Courtroom
E, United States Bankruptcy Court for the District of Colorado, United States Custom House,
721 19th Street, Denver (the “Hearing”).

        Pursuant to Local Bankruptcy Rule 3017-1, any objections to the Disclosure Statement
shall be made in writing and the original of the objection shall be filed with the Court and a copy
served on the attorney for the Plan Proponent, the Debtor, and counsel for Debtor, the United
States Trustee, and the Trustee, if any, counsel for the Creditors’ Committee (or when there is no
counsel, to the Committee Chairperson), applicable regulatory agencies, including without
limitation, the Securities and Exchange Commission and the Commissioner of Securities of the
State of Colorado, not less than seven (7) days prior to the Hearing on the adequacy of the
Disclosure Statement. Objections shall clearly specify the grounds upon which they are based,
including the citation of supporting legal authority, if any, and references to the particular
portions of the statement to which objections are made. General objections will not be
considered by the Court.

        The Disclosure Statement is available for public inspection from 8:00 a.m. to 4:30 p.m.
during any regular business day in the Clerk’s Office of the United States Bankruptcy Court for
the District of Colorado, U.S. Custom House, 721 19th Street, Denver, Colorado. Any interested
party who desires a copy of the Disclosure Statement or Plan may submit such request to the
Plan Proponent at the address stated below, with a copy of that request to the Clerk of the
Bankruptcy Court. The Plan Proponent shall promptly provide the requested copy.

        The Hearing may be continued from time to time by Order made in Open Court without
further written notice to creditors or other parties in interest.
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        NOTICE IS FURTHER GIVEN that in accordance with Fed. R. Bankr. P.
3003(c)(3), the Court establishes June 22, 2018, as the last day for any creditor or equity
security holder whose claim or interest IS NOT scheduled or is scheduled as DISPUTED,
CONTINGENT, OR UNLIQUIDATED to file a proof of claim. It shall not be necessary for
a creditor or equity security holder to file a proof of claim or interest if the claim or interest is
scheduled in the Schedule of Liabilities filed by the Debtor(s) pursuant to 11 U.S.C. §
521(a)(1)(B)(i) as not disputed, not contingent and not unliquidated and if the creditor or equity
security holder agrees with the amount of the claim or interest as scheduled in the Schedule of
Liabilities.


DATED: _________________                       PLAN PROPONENT:

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                                       __________________________________
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